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                 UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

EDWARD L. BASKIN,
   Plaintiff,

vs.                                             Case No.: 3:21cv703/MCR/EMT

IMMENSOTA, et al.,
     Defendants.
______________________/

                                     ORDER

      The chief magistrate judge issued a Report and Recommendation on October

19, 2021 (ECF No. 16). The court furnished Plaintiff a copy of the Report and

Recommendation and afforded him an opportunity to file objections pursuant to

Title 28, United States Code, Section 636(b)(1). There have been no timely filed

objections.

      Having considered the Report and Recommendation, and the record, I have

determined the Report and Recommendation should be adopted.

      Accordingly, it is ORDERED:

      1.      The chief magistrate judge’s Report and Recommendation (ECF No.

16) is adopted and incorporated by reference in this order.

      2.      This case is DISMISSED without prejudice for Plaintiff’s failure to

comply with court orders.
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       3.     The clerk of court is directed to enter judgment in accordance with this

order and close the case.

       DONE AND ORDERED this 2nd day of December 2021.



                                  M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE




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